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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 WARNER RECORDS, INC. et al,                  §
                                              §
       Plaintiffs,                            §
                                              §
 v.                                           §
                                                      Case No. 2:23-CV-00576-JRG-RSP
                                              §
 ALTICE USA, INC. and CSC                     §
 HOLDINGS, LLC,                               §
                                              §
       Defendants.                            §

                                          ORDER

       Defendants previously filed a Motion to Dismiss (Dkt. No. 25.) Magistrate Judge Payne

entered a Report and Recommendation (Dkt. No. 75), recommending denial of Defendants’

Motion to Dismiss. Defendants have now filed Objections (Dkt. No. 84).
 .
      After conducting a de novo review of the briefing on the Motion to Dismiss, the Report

and Recommendation, and the briefing on Defendants Objections, the Court agrees with the

reasoning provided within the Report and Recommendation and concludes that the Objections fail

to show that the Report and Recommendation was erroneous. Consequently, the Court

OVERRULES Defendants’ Objections and ADOPTS the Report and Recommendation and

orders that the Motion to Dismiss (Dkt. No. 25) is DENIED.

      So ORDERED and SIGNED this 27th day of September, 2024.




                                                     ____________________________________
                                                     RODNEY GILSTRAP
                                                     UNITED STATES DISTRICT JUDGE
